 

U.S. DISTRICT COURT
UNITED STATES DISTRICT COURT EASTERN Dl ISTRICT- Wi-
EASTERN DISTRICT OF WISCONSIN FILED |
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UNITED STATES OF AMERICA, CLERK OF COURT -

Plaintiff,

 

Vv. Case No. 21-CR .
[18 U.S.C. §§ 922(0) & 924(ay(2)]
EDUARDO C. LAWLESS, JR.,

Defendant.

 

INDICTMENT

 

THE GRAND JURY CHARGES THAT:

On or about February 18, 2021, in the State and Eastern District of Wisconsin,

EDUARDO C. LAWLESS, JR.,
knowingly possessed a machinegun, that is, a Glock, model 26 Gen 5, 9mm pistol, bearing serial
number AENL114 with machinegun-conversion device.

In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).

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FORFEITURE NOTICE
Upon conviction of the offense alleged in this Indictment, the defendant, Eduardo C.
Lawless, Jr., shall forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d) and Title 28, United States Code, Section 2461(c), any firearms and ammunition involved
in the knowing violation of Sections 922(0), including, but not limited to: a Glock, model 26 Gen

5, 9mm pistol, bearing serial number AENL114 with machinegun-conversion device.

 

 

 
 
 

Pw RICHARD
Acting UnitedStates Attorney

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